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        In the United States Court of Federal Claims
                                  OFFICE OF SPECIAL MASTERS
                                           No. 15-1009V
                                     Filed: February 17, 2016
                                          UNPUBLISHED

****************************
PEDRO DE JESUS,                           *
                                          *
                     Petitioner,          *      Damages Decision Based on Proffer;
                                          *      Influenza (“Flu”) Vaccine;
                                          *      Shoulder Injury Related to Vaccine
SECRETARY OF HEALTH                       *      Administration (“SIRVA”);
AND HUMAN SERVICES,                       *      Special Processing Unit (“SPU”)
                                          *
                     Respondent.          *
                                          *
****************************
Maximillian Muller, Muller Brazil, LLP, Philadelphia, PA, for petitioner.
Justine Walters, U.S. Department of Justice, Washington, DC for respondent.

                                DECISION AWARDING DAMAGES1

Dorsey, Chief Special Master:

       On September 11, 2015, Pedro De Jesus (“petitioner”) filed a petition for
compensation under the National Vaccine Injury Compensation Program, 42 U.S.C.
§300aa-10, et seq.,2 [the “Vaccine Act” or “Program”]. Petitioner alleged that he
suffered “shoulder injuries which were caused in fact” by the influenza vaccine he
received on November 26, 2014. Petition at 1. The case was assigned to the Special
Processing Unit of the Office of Special Masters.

        On January 5, 2016, the undersigned issued a ruling on entitlement, finding that
petitioner was entitled to compensation. On February 17, 2016, respondent filed a
proffer on award of compensation [“Proffer”] stating that petitioner should be awarded
$75,000.00 for actual and projected pain and suffering and $928.00 for past
unreimburseable expenses for a total award of $75,928.00. Proffer at 2-3. According to

1 Because this unpublished decision contains a reasoned explanation for the action in this case, I intend
to post it on the United States Court of Federal Claims' website, in accordance with the E-Government
Act of 2002, Pub. L. No. 107-347, § 205, 116 Stat. 2899, 2913 (codified as amended at 44 U.S.C. § 3501
note (2006)). In accordance with Vaccine Rule 18(b), petitioner has 14 days to identify and move to
redact medical or other information, the disclosure of which would constitute an unwarranted invasion of
privacy. If, upon review, I agree that the identified material fits within this definition, I will redact such
material from public access.

2National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for
ease of citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2012).
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respondent’s Proffer, petitioner agrees to the proposed award of compensation. Id. at
2.

        Pursuant to the terms stated in the attached Proffer, the undersigned awards
petitioner a lump sum payment of $75,928.00 in the form of a check payable to
petitioner, Pedro De Jesus, representing $75,000.00 for actual and projected pain
and suffering and $928.00 for past unreimburseable expenses. This amount
represents compensation for all damages that would be available under § 300aa-15(a).

       The clerk of the court is directed to enter judgment in accordance with this
decision.3

IT IS SO ORDERED.

                                        s/Nora Beth Dorsey
                                        Nora Beth Dorsey
                                        Chief Special Master




3
 Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by each party filing a notice
renouncing the right to seek review.


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                IN THE UNITED STATES COURT OF FEDERAL CLAIMS
                        OFFICE OF SPECIAL MASTERS
____________________________________
                                     )
PEDRO DE JESUS,                      )
                                     )
            Petitioner,              )
                                    )
v.                                  )   No. 15-1009V
                                    )   Chief Special Master Dorsey
                                    )   ECF
SECRETARY OF HEALTH AND             )   SPU
HUMAN SERVICES,                     )
                                    )
            Respondent.             )
____________________________________)

             RESPONDENT’S PROFFER ON AWARD OF COMPENSATION

       On September 11, 2015, petitioner, Pedro De Jesus, filed a petition for compensation

under the National Childhood Vaccine Injury Act, 42 U.S.C. §§ 300aa-10 to -34 (“Vaccine

Act”), alleging that he developed shoulder injuries as a result of receiving a seasonal influenza

(“flu”) vaccine on November 26, 2014. On January 4, 2016, respondent filed her Rule 4(c)

Report stating that petitioner’s arm injury is consistent with a shoulder injury related to vaccine

administration (“SIRVA”) and conceding that his SIRVA is compensable under the Vaccine Act.

Accordingly, on January 5, 2016, Chief Special Master Dorsey issued a Ruling on Entitlement

finding that petitioner is entitled to compensation for SIRVA.

I.     Items of Compensation

       For the purposes of this proffer, the term “vaccine-related” is as described in

Respondent’s Rule 4(c) Report filed on January 4, 2016.

       A.      Future Unreimbursable Expenses

       The parties agree that based upon the evidence of record, petitioner will not require future

care for his vaccine-related injury. Therefore, respondent proffers that petitioner should be
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awarded no future unreimbursable expenses under 42 U.S.C. § 300aa-15(a)(1).

Petitioner agrees.

       B.       Lost Earnings

       The parties agree that based upon the evidence of record, petitioner has not incurred and

will not incur any loss of earnings as a result of his vaccine injury. Therefore, respondent

proffers that petitioner should be awarded no actual or anticipated loss of earnings under

42 U.S.C. § 300aa-15(a)(3)(A). Petitioner agrees.

       C.       Pain and Suffering

       Respondent proffers that petitioner should be awarded $75,000.00 in actual and projected

pain and suffering. This amount reflects that the award for projected pain and suffering has been

reduced to net present value. See 42 U.S.C. § 300aa-15(a)(4). Petitioner agrees.

       D.       Past Unreimbursable Expenses

       Evidence supplied by petitioner documents his expenditure of past unreimbursable

expenses related to her vaccine-related injury. Respondent proffers that petitioner should be

awarded past unreimbursable expenses in the amount of $928.00. Petitioner agrees.

       E.       Medicaid Lien

       Petitioner represents that there are no outstanding Medicaid liens against him.

II.    Form of the Award

       The parties recommend that compensation provided to petitioner should be made through

a lump sum payment as described below and request that the Chief Special Master’s decision




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and the Court’s judgment award the following: 1

       A. A lump sum payment of $75,928.00, representing compensation for pain and

suffering and past unreimbursable expenses, in the form of a check payable to petitioner.

III.   Summary of Recommended Payment Following Judgment

        A.     Lump sum paid to petitioner:                                         $75,928.00



                                              Respectfully submitted,

                                              BENJAMIN C. MIZER
                                              Principal Deputy Assistant Attorney General

                                              RUPA BHATTACHARYYA
                                              Director
                                              Torts Branch, Civil Division

                                              VINCENT J. MATANOSKI
                                              Deputy Director
                                              Torts Branch, Civil Division

                                              LINDA S. RENZI
                                              Senior Trial Counsel
                                              Torts Branch, Civil Division

                                               s/ Justine Walters__________
                                              JUSTINE WALTERS
                                              Trial Attorney
                                              Torts Branch, Civil Division
                                              U.S. Department of Justice
                                              P.O. Box 146, Benjamin Franklin Station
                                              Washington, D.C. 20044-0146
                                              Tel: (202) 307-6393

DATE: February 16, 2016




1
  Should petitioner die prior to entry of judgment, the parties reserve the right to move the Court
for appropriate relief. In particular, respondent would oppose any award for future medical
expenses, future lost earnings, and future pain and suffering.

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